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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 KATRINA MILLER,                                  )
                                                  )
                        Plaintiff,                )      Case No.
        v.                                        )
                                                  )
 DEVILLE ASSET MANAGEMENT,                        )
 LTD., BLITT & GAINES, P.C., and                  )      JURY TRIAL DEMANDED
 BARRISTER INVESTIGATIONS &                       )
 FILING SERVICE, INC.,                            )
                                                  )
                        Defendants.               )

                                          COMPLAINT

       Plaintiff KATRINA MILLER, through undersigned counsel, brings this complaint

against Defendants DEVILLE ASSET MANAGEMENT, LTD., BLITT & GAINES, P.C., and

BARRISTER INVESTIGATIONS & FILING SERVICE, INC., and alleges as follows:

                                      NATURE OF THE ACTION

       1.       Plaintiff brings this action for damages for violations of the Fair Debt Collection

Practices Act (the “FDCPA”) and the Illinois Consumer Fraud and Deceptive Business Practices

Act (“ICFA”).

       2.       The claims stated herein stem from Defendants’ wrongful debt collection

activities on an alleged consumer debt, including filing a false affidavit in a collection action and

wrongfully obtaining a default judgment after service had been quashed.

                                     JURISDICTION AND VENUE

       3.       This Court has subject matter jurisdiction over this action under 28 U.S.C. §§

1331 and 1337, and 15 U.S.C. § 1692k (FDCPA). The Court has jurisdiction over Plaintiff’s

state-law claims under 28 U.S.C. § 1367.



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        4.      Venue is proper in this District under 28 U.S.C. § 1391, as the events complained

of occurred in this District.

                                               PARTIES

        5.      Plaintiff Katrina Miller is a natural person and resident of Illinois, from whom

Defendants attempted to collect an allegedly defaulted car loan account, which was incurred

primarily for personal, family and household purposes (the “alleged debt”).

        6.      Plaintiff incurred the allege debt to purchase a car for personal use.

        7.      Plaintiff is a “consumer” as defined by Section 1692a(3) of the FDCPA.

        8.      Defendant DeVille Asset Management, Ltd. (“DeVille”) is a Texas limited

partnership that does business in the State of Illinois, including in this District.

        9.      DeVille is a debt collector as that term is defined in Section 1692a(6) of the

FDCPA because it uses the mails and telephone in its business, the principal purpose of which is

the collection of consumer debts.

        10.     DeVille is also a debt buyer that specializes in buying large portfolios of defaulted

consumer debts for pennies on the dollar, the full amount of which it then tries to collect for

itself and through other debt collectors.

        11.     Defendant Blitt & Gaines, P.C. (“Blitt”), is a law firm organized as an Illinois

professional corporation that does business in the State of Illinois, including in this District.

        12.     Blitt is a debt collection law firm and it regularly collects consumer debts on

behalf of others.

        13.     Blitt is a debt collector as that term is defined in Section 1692a(6) of the FDCPA

because it uses the mails and telephone in its business, the principal purpose of which is the

collection of consumer debts, and because it regularly attempts to collect debts owed or due or

asserted to be owed or due another.
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        14.       Defendant Barrister Investigations & Filing Service, Inc., (“Barrister”) is a private

detective agency organized as an Illinois corporation with its principal place of business located

in Joliet, Illinois.

        15.       Barrister does business in the State of Illinois, including in this District.

        16.       Barrister has maintained a website that described Barrister’s business as follows:

     Barrister Investigations & Filing Service, Inc. has a fully trained staff to provide superior
     legal services in a timely and efficient manner. Barrister Investigations & Filing Service,
     Inc. has provided service to some of the largest attorneys in Illinois by servicing over one
     million documents from mortgage foreclosures, credit collections, divorces and more. We
     accomplish this by using advanced software applications which allow the client web
     access to view status, print affidavits and print invoices. All clients’ data is stored at a
     secured and protected offsite location to ensure the safety of all documentation.

See http://www.barristerillinois.com, last accessed on August 9, 2018.

        17.       Barrister is a debt collector as that term is defined in Section 1692a(6) of the

FDCPA because it regularly provides debt collection support services to collection attorneys,

third-party debt collectors. and debt buyers for the purpose of collecting debts owed or due or

asserted to be owed or due another.

                                   FACTS SUPPORTING THE ACTION

        18.       After Plaintiff defaulted on the alleged debt, DeVille acquired the defaulted

alleged debt from the original creditor for the purposes of attempting to collect the alleged debt

from Plaintiff.

        19.       On June 27, 2018, Blitt, on behalf of DeVille, filed a collection action against

Plaintiff in the Circuit Court of Cook County, styled as DeVille Asset Management, Ltd. v.

Miller, case number 2018-M1-123110 (the “collection action”).

        20.       The collection action sought to collect the alleged debt from Plaintiff.

        21.       Plaintiff disputes the validity and amount of the alleged debt.



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          22.   After filing the collection action complaint on behalf of DeVille, Blitt thereafter

hired Barrister to support its efforts to collect the alleged debt from Plaintiff on behalf of

DeVille.

          23.   Barrister has an Illinois Private Detective Agency License No. 117-000883.

          24.   Barrister, by and through its employee Jose Pena, executed an Affidavit of

Service (the “Affidavit”) in which Mr. Pena states under oath that he served a copy of the

collection action complaint and summons via substitute service “MEMBER OF HOUSEHOLD,

GERALD,” at Plaintiff’s home address of 4841 W. Wabansia, Apt. #2, Chicago, Illinois, on

October 13, 2018.

          25.   This statement was false. Plaintiff has no member of her household named

Gerald.

          26.   Further, Mr. Pena did not serve the documents on any person that lived in

Plaintiff’s home or that could accept service on Plaintiff’s behalf. Instead, upon information and

belief he left the documents on the floor outside of Plaintiff’s apartment after accessing the

apartment building.

          27.   Plaintiff discovered the summons and complaint on the floor of the hallway

outside her apartment on or about October 13, 2018.

          28.   On October 16, 2018, Mr. Pena also mailed Plaintiff a copy of the summons and

complaint.

          29.   Plaintiff was never properly served with notice of the collection action.

          30.   Blitt filed the Affidavit with the Circuit Court of Cook County, Illinois, so that

Plaintiff would be induced to believe that service was proper if Plaintiff checked the court

docket.



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       31.     Barrister, on behalf of Blitt and DeVille, also mailed Plaintiff a copy of the

complaint and summons to deceiver her into believing that she had been properly served and that

she was required by law to appear in the collection action.

       32.     DeVille then obtained a default judgment against Plaintiff, based on the false

Affidavit that indicated that Plaintiff had been properly served.

       33.     Upon becoming aware of Defendants’ false assertions that they had served her

with process, that a default judgment had been entered against her, Plaintiff became distressed

because she knew that they had never actually served her with process and she had never had an

opportunity to defend herself in the collection action.

       34.     On November 27, 2018, Plaintiff appeared in the collection action for the sole

purpose of quashing service and vacating the default judgment that was wrongfully entered

against her.

       35.     On December 10, 2018, the court in the collection action granted Plaintiff’s

motion, quashed the improper service, and vacated the default judgment entered against Plaintiff.

       36.     Defendants did not thereafter serve Plaintiff with process in the collection action.

       37.     Plaintiff had not waived service, and proper service was required for DeVille and

Blitt to obtain a judgment against Plaintiff in the collection action.

       38.     Nevertheless, Blitt, on behalf of DeVille, appeared before the court in the

collection action on January 15, 2019, and requested entry of a default judgment.

       39.     Upon information and belief, Blitt, on behalf of DeVille, falsely represented to the

court in the collection action that Plaintiff had been properly served or had somehow waived

service.




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         40.     Such representations were false and misleading, as Plaintiff had not been properly

served and had not waived service.

         41.     As a result of Blitt’s false and misleading representations to the court in the

collection action, DeVille wrongly obtained a default judgment against Plaintiff for a second

time.

         42.     Defendants conspired to deprive Plaintiff of equal protection of the law, namely

to deprive her of her due process right to proper notice of the collection action.

         43.     Barrister’s employee Mr. Pena, on behalf of the other Defendants, made false

statements in the Affidavit in an attempt to enforce collection of a consumer debt.

         44.     Under § 1692a(6)(D) of the FDCPA, any person while serving or attempting to

serve legal process on any other person in connection with the judicial enforcement of any debt

is not included as a debt collector, but the language of § 1692a(6)(D) extends the exemption to a

person only “while serving or attempting to serve legal process.” See Spiegel v. Judicial Attorney

Servs., Inc., 2011 WL 382809 (N.D. Ill. Feb.1 2011; Romea v. Heiberger & Assocs., 163 F.3d

111 (2nd Cir. 1998); Andrews v. S. Coast Legal Servs., 582 F. Supp. 2d 82 (D. Mass. 2008); and

Flamm v. Sarner & Assocs., P.C., 2002U.S. Dist. LEXIS 22255 (E.D. Penn. 2002); Sneed v.

Winston Honore Holdings, LLC, No. 16 C 2564, 2017 U.S. Dist. LEXIS 15235, at *11 (N.D. Ill.

Feb. 3, 2017).

         45.     Defendants were not serving or attempting to serve legal process when they filed

the Affidavit, left the summons and complaint outside of Plaintiff’s apartment, and mailed her

the summons and complaint.

         46.     Instead, they filed the Affidavit containing materially false statements for the

purpose and intent of collecting the alleged debt. Indeed, Defendants (a) did not serve Plaintiff



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with the summons or complaint, (b) made false sworn written statements, (c) filed and presented

these false statements to the collection action court, and (d) mailed Plaintiff copy of the

collection action summons and complaint to induce Plaintiff to believe that DeVille and Blitt

could lawfully obtain a judgment against Plaintiff, even without completing service of process.

        47.     Defendants’ misrepresentations that they properly served Plaintiff in the

collection action, the execution of a false Affidavit, the filing of the Affidavit in the collection

action, leaving the summons and complaint on the floor outside of Plaintiff’s apartment, and

mailing Plaintiff a copy of the summons and complaint, were each done in connection with the

collection of the alleged debt from Plaintiff, and each was a coercive act calculated either (a) to

trick Plaintiff into believing that DeVille had the right to proceed in the collection action, and

that Plaintiff was required to file an appearance in the collection action or (b) to surreptitiously

obtain a judgment against Plaintiff and trick Plaintiff into believing that DeVille had the right to

obtain such a judgment and collect thereon by garnishing her wages.

        48.     As a debt collector, Blitt may be held vicariously liable for Barrister’s collection

activity.

        49.     As a debt collector, DeVille may be held vicariously liable for Blitt’s and

Barrister’s collection activity.

        50.     Plaintiff was damaged by Defendants’ misconduct. Specifically, Plaintiff had to

retain an attorney to fight Defendants’ unlawful collection efforts, and had to pay an appearance

fee to file and present her motion to quash improper service and to vacate the wrongful default

judgment. Plaintiff also suffered emotional distress, including but not limited to fear, anxiety,

sleeplessness, panic attacks, embarrassment, aggravation, wasted time, and inconvenience.




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                             COUNT I – VIOLATIONS OF THE FDCPA
                                 (AGAINST ALL DEFENDANTS)

       51.     Plaintiff restates and realleges all prior paragraphs as though fully set forth herein.

       52.     § 1692e of the FDCPA states in relevant part that a debt collector, “may not use

any false, deceptive, or misleading representation or means in connection with the collection of

any debt.”

       53.     Defendants made false, deceptive and misleading representations in connection

with the collection of a debt, in violation of § 1692e, by means of the false Affidavit they

prepared, filed, and communicated, and by means of the complaint and summons left in the

hallway outside of Plaintiff’s home and mailed to Plaintiff, which falsely and deceptively was an

attempt to induce Plaintiff to believe that she was properly served, when in fact she was not.

       54.     §1692e(13) of the FDCPA prohibits the “false representation or implication that

documents are legal process.”

       55.     Defendants violated § 1692e(13) by filing the Affidavit in the collection action,

which falsely implied that service had been obtained over Plaintiff and that the related

documents were legal process.

       56.     § 1692e(5) of the FDCPA prohibits the “threat to take any action that cannot

legally be taken or that is not intended to be taken.”

       57.     Defendants violated § 1692e(5) when they filed the Affidavit by falsely

threatening that DeVille could obtain a judgment against Plaintiff unless Plaintiff appeared in the

collection action and filed an appearance, when, in fact, such action could not legally be taken.

       58.     § 1692e(10) of the FDCPA prohibits “use of any false representation or deceptive

means to collect or attempt to collect any debt or to obtain information concerning a consumer.”




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       59.     Defendants violated § 1692e(10) by means filing the Affidavit and thereby

communicating that she was properly served, which falsely and deceptively was an attempt to

induce Plaintiff to believe that she was properly served, when in fact she was not, all in order to

collect the alleged debt from her via litigation.

       60.     Blitt and DeVille also violated § 1692e(10) by, upon information and belief, false

representing to the court in the collection action that Plaintiff had been served or had waived

service, in an effort to obtain a default judgment against Plaintiff and collect the alleged debt

from her.

       61.     § 1692f of the FDCPA states in relevant part that “[a] debt collector may not use

unfair or unconscionable means to collect or attempt to collect any debt.”

       62.     Defendants violated § 1692f by filing the Affidavit containing false statements in

an attempt to collect the alleged debt, which was unfair and unconscionable.

       63.     Blitt and DeVille also violated § 1692f by obtaining a default judgment for a

second time, after service had been quashed, without serving Plaintiff.

       64.     § 1692d of the FDCPA states in relevant part that “[a] debt collector may not

engage in any conduct the natural consequence of which is to harass, oppress, or abuse any

person in connection with the collection of a debt.”

       65.     Defendants violated § 1692d by obtaining a default judgment against Plaintiff and

garnishing Plaintiff’s wages by using a false Affidavit, all while maintaining that their actions

were legal and legitimate.

       66.     Blitt and DeVille also violated § 1692d by obtaining a default judgment for a

second time, after service had been quashed, without serving Plaintiff.

       67.     Plaintiffs suffered damages proximately caused by Defendants’ misconduct.



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       68.      As a result of Defendants’ violations of the FDCPA, Plaintiff is entitled to an

award of actual damages, statutory damages, costs, and reasonable attorney fees.

       WHEREFORE, Plaintiff requests that this Honorable Court:

             a. grant judgment in Plaintiff’s favor against Defendants;

             b. award Plaintiff statutory and actual damages in an amount to be determined at
                trial;

             c. award Plaintiff reasonable attorneys’ fees and costs pursuant to Section 1692k of
                the FDCPA; and

             d. award any other relief this Honorable Court deems equitable and just.

                                COUNT II – VIOLATIONS OF ICFA
                               (AGAINST DEVILLE AND BARRISTER)

       69.      Plaintiff restates and realleges all prior paragraphs as though fully set forth herein.

       70.      Section 2 of ICFA prohibits unfair or deceptive practices in the conduct of any

trade or commerce and states, in relevant part, as follows:

    Unfair methods of competition and unfair or deceptive acts or practices, including
    but not limited to the use or employment of any deception, fraud, false pretense,
    false promise, misrepresentation or the concealment, suppression or omission of
    such material fact, or the use or employment of any practice described in section 2
    of the “Uniform Deceptive Trade Practices Act”, approved August 5, 1965, in the
    conduct of any trade or commerce are hereby declared unlawful whether any person
    has in fact been misled, deceived or damaged thereby.

       71.      Section 10a of ICFA establishes liability for “a violation of this Act committed by

any . . . person . . . .” 815 ILCS 505/10a.

       72.      The term “person,” in turn, includes “any agent” of a “company . . . business

entity or association.” 815 ILCS 505/1(c).

       73.      At all relevant times, DeVille was engaged in the trade or commerce of collecting

consumer debts.




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       74.     At all relevant times, Barrister was engaged in the trade or commerce of assisting

debt collectors in the collection of consumer debts, and of serving process on individual

defendants.

       75.     DeVille and Barrister engaged in deceptive and unfair practices in the course of

conduct involving their respective businesses.

   A. Deceptive acts and practices

       76.     It was deceptive for Barrister to prepare and file the false Affidavit, which

Barrister did on behalf of and for the benefit of DeVille.

       77.     It was deceptive for Barrister to leave the collection action summons and

complaint in the hallway outside of Plaintiff’s home, which it did on behalf of and for the benefit

of DeVille. By this action, Barrister intended to deceive Plaintiff into believing that she had been

properly served with process.

       78.     It was deceptive for Barrister to mail the collection action summons and

complaint to Plaintiff, which it did on behalf of and for the benefit of DeVille. By this action,

Barrister intended to deceive Plaintiff into believing that she had been properly served with

process.

       79.     Barrister and DeVille intended that Plaintiff rely on these deceptive acts and

practices.

   B. Unfair acts and practices

       80.     It was unfair for Barrister and DeVille to avoid adequate and proper serving

process while attempting to convince Plaintiff and the collection action court that service was

properly completed.




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       81.      It was unfair for Barrister and DeVille to attempt to trick Plaintiff into believing

that service was proper by leaving the summons and complaint in the hallway of Plaintiff’s

building and mailing her the summons and complaint.

       82.      The actions of Barrister and DeVille were intention and willful, as DeVille

obtained an improper default not once, but twice, and Barrister knowingly completed and

submitted the false Affidavit.

       83.      The actions of Barrister and DeVille offend public policy, have a direct consumer

nexus, affect consumers as a whole, and violate the basic due process rights of consumers.

       84.      The conduct was intended to circumvent the law, save time and money, and avoid

compliance with Plaintiff’s basic due process rights to expedite DeVille’s recovery on the

alleged debt.

       85.      Barrister and DeVille intended that Plaintiff rely upon their actions.

       86.      Plaintiff relied upon these acts and was deceived into questioning her basic due

process rights in the collection action.

       87.      Plaintiff suffered damages as a result of the misconduct of Barrister and DeVille,

including as set forth above.

       WHEREFORE, Plaintiff requests that this Honorable Court:

             a. grant judgment in Plaintiff’s favor against Barrister and DeVille;

             b. award Plaintiff actual damages in an amount to be determined at trial;

             c. award Plaintiff punitive damages in an amount to be determined at trial;

             d. award Plaintiff reasonable attorneys’ fees and costs pursuant to Section 10a(c) of
                ICFA; and

             e. award any other relief this Honorable Court deems equitable and just.

Plaintiff Demands Trial by Jury.


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                                         Respectfully Submitted,

                                         /s/ Daniel Brown
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                                         Attorney for Plaintiff




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                          DOCUMENT PRESERVATION DEMAND

Plaintiff hereby demands that all Defendants take affirmative steps to preserve all recordings,
data, documents, and all other tangible things that relate to Plaintiff, the events described herein,
any third party associated with any telephone call, campaign, account, sale or file associated with
Plaintiff, and any account or number or symbol relating to them. These materials are likely very
relevant to the litigation of Plaintiff’s claims. If any Defendant is aware of any third party that
has possession, custody, or control of any such materials, Plaintiff demands that such Defendant
request that such third party also take steps to preserve the materials. This demand shall not
narrow the scope of any independent document preservation duties of any Defendant.

By: /s/ Daniel Brown
    Daniel Brown


                           NOTICE OF LIEN AND ASSIGNMENT

Please be advised that we claim a lien upon any recovery herein for 1/3 or such amount as a
court awards. All rights relating to attorneys’ fees have been assigned to counsel.

By: /s/ Daniel Brown
    Daniel Brown




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                               VERIFICATION OF COMPLAINT

STATE OF ILLINOIS               )
                                ) ss
COUNTY OF COOK                  )

        Pursuant to 28 U.S.C. § 1746, Plaintiff Katrina Miller, verifies, certifies, and declares as

follows:

        1.      I am the Plaintiff in this civil proceeding.

        2.      I have read the civil Complaint prepared by my attorney and I believe that all of the

facts contained in it are true to the best of my knowledge, information, and belief, formed after

reasonable inquiry.

        3.      I have not filed this Complaint for any improper purpose, such as to harass any

Defendant, cause unnecessary delay to any Defendant, or create a needless increase in the cost of

litigation to any Defendant named in the Complaint.

        4.      I have filed this civil Complaint in good faith and solely for the purposes set forth in

it.

I declare under penalty of perjury that the foregoing is true and correct.



Executed on        January
                _______________  24
                                _________,   2019
                                           _____________
                     Month           Day      Year


_____________________________________
Signature
